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                                         August 21, 2022


                                        INFORMATION


MEMORANDUM FOR THE SECRETARY
                                                            Digitally signed by JOHN W
                                                JOHN W
THROUGH:                      John W. Priddy PRIDDY IV
                                                            PRIDDY IV
                                                            Date: 2022.08.21 16:01:39
                                                            -04'00'

                              Acting Director, Joint Task Force – East (JTF-E)

                              John K. Tien
                              Deputy Secretary, U.S. Department of Homeland Security
                                                                         MCPHERSON.BRENDA Digitally signed by

FROM:                         RADM Brendan C. McPherson N.C.1030028623                    MCPHERSON.BRENDAN.C.1030028623
                                                                                                 Date: 2022.08.21 14:49:08 -04'00'


                              Director, Homeland Security Task Force – Southeast (HSTF-SE)

SUBJECT:                      OPERATION VIGILANT SENTRY (OVS) Phase 1B

REFERENCE:                    (a) Homeland Security Act of 2002, P.L. 107-296
                              (b) DHS MASS MIGRATION PLAN (DMMP), dtd 8 SEP 2011
                              (c) OPERATION VIGILANT SENTRY, Rev. 5 dtd 13 JUL 2021

1. This memorandum provides formal notification that I have directed the HSTF-SE Unified
Command to transition from Operation Vigilant Sentry (OVS) Phase 1a (Steady State -
Preparation) to Phase 1b (Surge - Prevention), in accordance with references (a) through (c). I
directed this change in order to enhance our collective preparedness to effectively address a
marked, enduring increase in irregular maritime migration flow within the Caribbean area of
operations in recent months, most notably originating from Cuba and Haiti. The current
conditions in Cuba and Haiti remain fragile and conducive to seeing additional foreign nationals
taking to the sea, in significant numbers, with the intent of reaching the United States.

2. HSTF-SE will immediately implement operational and tactical level plans and activities to
deter and prevent any threat of maritime mass migration. The principal objectives of this
operation will focus on: effective deterrence; early interdiction; safe, efficient and humane care
and processing of migrants; and direct repatriation of migrants rescued and interdicted at sea in
support of U.S. national security interests. Ultimately, the mission of HSTF-SE is to save lives
and secure our borders.

3. HSTF-SE will coordinate all interagency requests for assistance, requests for forces,
recommendations for suspension of protection screening (if deemed necessary and appropriate),
determination for state and local assistance, or other operational matters with JTF-E and the DHS
Office of the Military Advisor.


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4. HSTF-SE will maintain OVS Phase 1b (Surge) until operational conditions permit a timely
transition back to OVS Phase 1a (Steady State).

5. All DHS components are responsible for their own costs in support of HSTF-SE. Each
component is responsible for establishing appropriate mechanisms for capturing and
documenting costs in support of HSTF-SE operations. The Under Secretary for Management
will centrally collect cost information from across all DHS agencies. The Under Secretary for
Management and Chief Financial Officer will also periodically review the situation and make
adjustments accordingly.

Attach: Graphic - Operation Vigilant Sentry (OVS) Phases and Command Structure

cc:     Commandant, U.S. Coast Guard
        Commissioner, U.S. Customs and Border Protection
        Acting Director, U.S. Immigration and Customs Enforcement
        Administrator, Federal Emergency Management Agency
        DHS, Under Secretary for Management
        DHS, Director of Operations Coordination
        DHS, Office of the Military Advisor
        HSTF-SE Unified Command
        Commander, U.S. Southern Command
        Commander, U.S. Northern Command




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